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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov

In re:                                              Chapter 11, Subchapter V

HDIP, INC.,                                         Case No. 8:22-bk-03610-RCT

         Debtor.
                              /


                              NOTICE OF EFFECTIVE DATE

         The Debtor, HDIP, INC., by and through its undersigned attorneys, hereby gives notice

of the effective date of the Amended Plan of Reorganization for Small Business Under Chapter

11 (Doc. No. 93). On April 28, 2023, the Court entered an Order Confirming Amended Plan of

Reorganization for Small Business Under Chapter 11 (Doc. No. 110). All conditions to the

Effective Date have been satisfied or waived. The Effective Date of the Plan is May 12, 2023.


                                            /s/ Amy Denton Mayer
                                            Amy Denton Mayer (FBN 0634506)
                                            Stichter, Riedel, Blain & Postler, P.A.
                                            110 E. Madison Street, Suite 200
                                            Tampa, Florida 33602-4718
                                            Telephone: (813) 229-0144
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                                            Attorneys for Debtor
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Effective

Date has been furnished on this 8th day of June, 2023, by the Court’s CM/ECF electronic

noticing to all parties receiving electronic noticing.


                                               /s/ Amy Denton Mayer
                                               Amy Denton Mayer




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